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                              EXHIBIT 1
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                                              UNITED STATES DISTRICT COURT
                                              SOUTHERN DISTRICT OF FLORIDA

            ALAA ELTAHIR,                                                               Case No.: 0:22-cv-61046
            On behalf of herself and all
            those similarly situated,

                             Plaintiff,
            VS.


            NOMI HEALTH, INC., A Delaware Corporation;
            MEDX STAFFING, INC., A Florida Corporation;
            MARK NEWMARK, an individual;
            JOSHUA WALKER; an individual;
            DANIEL SCHWENDIMAN, an individual;
            And DOES l through I 00;
                        Defendants.
            ------------------�/
                              DECLARATION IN SUPPORT OF PLAINTIFF'S CLAIMS

            I, Guirlene Bastien, depose and state as follows:

            1.       My name is Guirlene Bastien, I am above the age of 18 and a resident of Miami-Dade

                     County. I am fully competent to make this declaration and I have personal knowledge of

                     the facts stated below. To my knowledge, all the facts stated below are true and correct.

                     If called upon as a witness, l could, and would, testify competently to these facts under

                     oath.

            2.       By profession, I am a Liscenced Practical Nurse.

            3.      I was hired by Nomi Health, Inc. and Medx Staffing on or around September 14, 2020.

            4.       I was hired to conduct covid-19 testing at various sites in South Florida, including the

                     Fort Lauderdale Airport, at a rate of thirty-five dollars ($35.00) an hour.

            5.       I routinely worked more than forty hours a week, but was not paid overtime. Most

                    weeks, I worked seven days a week, 15 hours a day.
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                                             UNITED ST ATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF FLORIDA

               ALAA ELTAHIR,                                                              Case No.: 0:22-cv-61046
               On behalf of herself and all
               those similarly situated,

                               Plaintiff,
               vs.

              NOMJ HEALTH, INC., A Delaware Corporation;
              MEDX STAFFING, INC., A Florida Corporation;
              MARK NEWMARK, an individual;
              JOSHUA WALKER; an individual;
              DANIEL SCHWENDIMAN, an individual;
              And DOES 1 through 100;
                          Defendants.
              -----------------�/

                                DECLARATION IN SUPPORT OF PLAINTIFF'S CLAIMS

               I, Litrenne Beaubriant, deposes and states the follows:

               I.      My name is Litrenne Beaubriant, I am above the age of 18 and a resident of Broward

                       County. J am fully competent to make this declaration and I have personal knowledge of

                       the facts stated below. To my knowledge, all the facts stated below are true and correct.

                       Jf called upon as a witness, I could, and would, testify competently to these facts under

                       oath.

               2.      By profession, I am a Liscenced Practical Nurse.

              3.       I was hired by Nomi Health, Inc. and Medx Staffing on or around June 2021.

              4.       l was hired to conduct covid-19 testing at various sites in South Florida, including the

                       Fort Lauderdale Airport at a rate of thirty-five dollars ($35.00) an hour.

              5.       I routinely worked more than forty hours a week, but was not paid overtime. Most

                       weeks, I worked five or six days a week, I 5 hours a day.




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                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF FLORIDA

            ALAA ELTAHIR,                                                             Case No.: 0:22-cv-61046
            On behalf of herself and all
            those similarly situated,

                             Plaintiff,
            VS.


            NOM1 HEALTH, INC., A Delaware Corporation;
            MEDX STAFFING, INC., A Florida Corporation;
            MARK NEWMARK, an individual;
            JOSHUA WALKER; an individual;
            DANIEL SCHWENDIMAN, an individual;
            And DOES 1 through 100;
                        Defendants.
            __________________!

                              DECLARATION IN SUPPORT OF PLAINTIFF'S CLAIMS

            I, Karl-Roberte Donatien, depose and state as follows:

            l.      My name is Karl-Roberte Donatien, I am above the age of 18 and a resident of Broward

                    County. I am fully competent to make this declaration and 1 have personal knowledge of

                    the facts stated below. To my knowledge, all the facts stated below are true and correct.

                    If called upon as a witness, I could, and would, testify competently to these facts under

                    oath.

            2.      By profession, l am a Registered Nurse.

            3.      l was hired by Nomi Health, Inc. and Medx Staffing on or around December 9, 2020 as a

                    Registered Nurse. 1 worked as a Registered Nurse for Nomi Health, Inc. and Medx

                    Staffing from December 9, 2020 through July of 2021. Thereafter, I worked as a Medical

                    Assistant.
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                                                UNITED STATES DISTRICT COURT
                                                SOUTHERN DISTRICT OF FLORIDA

                   ALAA ELTAHIR,                                                             Case No.: 0:22-cv-61046
                   On behalf of herself and all
                   those similarly situated,

                                  Plaintiff,
                   VS.


                   NOMI HEALTH, INC., A Delaware Corporation;
                   MEDX STAFFING, INC., A Florida Corporation;
                   MARK NEWMARK, an individual;
                   JOSHUA WALKER; an individual;
                   DANIEL SCHWENDIMAN, an individual;
                   And DOES l through l 00;
                               Defendants.
                   -----------------�/

                                   DECLARATION IN SUPPORT OF PLAINTIFF'S CLAIMS

                   I, Ema Edouard, depose and state the follows:

                   1.     My name is Erna Edouard, I am above the age of 18 and a resident of Palm Beach

                          County. I am fully competent to make this declaration and I have personal knowledge of

                          the facts stated below. To my knowledge, all the facts stated below are true and correct.

                          If called upon as a witness, I could, and would, testify competently to these facts under

                          oath.

                   2.     By profession, I am a Registered Nurse. I became a Registered Nurse on March 31,

                          2021. Prior to that date, I was employed with Nomi Health and Medx Staffing as a

                          License Practical Nurse.

                   3.     I was hired by Nomi Health, Inc. and Medx Staffing on or around September 2020.

                   4.     1 was hired to conduct covid- I 9 testing at various sites in South Florida, including the

                          Fort Lauderdale Airport, at a rate of forty-five dollars ($45.00) an hour.




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                                           UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA

            ALAA ELTAHIR,                                                             Case No.: 0:22-cv-61046
            On behalf of herself and all
            those similarly situated,

                             Plaintiff,
            VS.

            NOMI HEALTH, INC., A Delaware Corporation;
            MEDX STAFFING, INC., A Florida Corporation;
            MARK NEWMAN, an individual;
            JOSHUA WALKER; an individual;
            DANIEL SCHWENDIMAN, an individual;
            And DOES 1 through 100;
                        Defendants.
            ___________________!

                              DECLARATION IN SUPPORT OF PLAINTIFF'S CLAIMS

            I, Madiane Jean Pierre, depose and state as follows:

            I.       My name is Madiane Jean Pierre, I am above the age of 18 and a resident of Palm Beach

                    County. I am fully competent to make this declaration and I have personal knowledge of

                    the facts stated below. To my knowledge, all the facts stated below are true and correct.

                    If called upon as a witness, I could, and would, testify competently to these facts under

                    oath.

            2.       By profession, I am a Liscenced Practical Nurse.

            3.       I was hired by Nomi Health, Inc. and Medx Staffing on or around September 2020.

            4.      I was hired to conduct covid-19 testing at various testing sites in South Florida, including

                    the Fort Lauderdale Airport at a rate of thirty-five dollars ($35.00) an hour. In December

                    of 2021, I was promised, but did not receive, a raise to forty dollars ($40.00) an hour.

            5.      I routinely worked more than forty hours a week, but was not paid overtime. Most

                    weeks, I worked three to four days a week, 15 hours a day.
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                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA

             ALAA ELTAHIR,                                                              Case No.: 0:22-cv-61046
             On behalf of herself and all
             those similarly situated,

                              Plaintiff,
             vs.

             NOMI HEALTH, INC., A Delaware Corporation;
             MEDX STAFFING, INC., A Florida Corporation;
             MARK NEWMARK, an individual;
             JOSHUA WALKER; an individual;
             DANIEL SCHWENDIMAN, an individual;
             And DOES l through I 00;
                         Defendants.
             ___________________./
                               DECLARATION IN SUPPORT OF PLAINTIFF'S CLAIMS

             l, lsmerie Petit, deposes and states the follows:

             l.      My name is lsmerie Petit, l am above the age of 18 and a resident of Broward County. l

                     am fully competent to make this declaration and I have personal knowledge of the facts

                     stated below. To my knowledge, all the facts stated below are true and correct. If called

                     upon as a witness, l could, and would, testify competently to these facts under oath.

            2.       By profession, I am a Liscenced Practical Nurse.

            3.       l was hired by Nomi Health, Inc. and Medx Staffing on or around September 2020.

            4.       l was hired to conduct covid-19 testing at various sites in South Florida including the

                     Fott Lauderdale Airport at a rate of thirty-five dollars ($35.00) an hour.

            5.       1 routinely worked more than forty hours a week, but was not paid overtime. Most

                     weeks, I worked four days a week and 14 hours a day.

            6.       During the course of my employment with Nomi Health and Medx Staffing, J routinely

                     worked in excess of fifty-five (55) hours per week.
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                                           UNITED ST ATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF FLORIDA

            ALAA ELTAHIR,                                                               Case No.: 0:22-cv-61046
            On behalf of herself and all
            those similarly situated,

                             Plaintiff,
            vs.

            NOMI HEALTH, INC., A Delaware Corporation;
            MEDX STAFFING, INC., A Florida Corporation;
            MARK NEWMARK, an individual;
            JOSHUA WALKER; an individual;
            DANIEL SCHWENDIMAN, an individual;
            And DOES I through 100;
                        Defendants.
             --------------------'/

                              DECLARATION IN SUPPORT OF PLAINTIFF'S CLAIMS

            I, Valerie Toussaint, depose and state as follows:

             I.      My name is Valerie Toussaint, I am above the age of 18 and a resident of Miami-Dade

                     County. I am fully competent to make this declaration and I have personal knowledge of

                     the facts stated below. To my knowledge, all the facts stated below are true and correct.

                     If called upon as a witness, I could, and would, testify competently to these facts under

                     oath.

            2.       By profession, I am a Registered Nurse. I became a Registered Nurse in April of 2021.

                    Prior to that time, I was a Liscenced Practical Nurse.

            3.       I was hired by Nomi Health, Inc. and Medx Staffing as an LPN on or around September

                     2020.

            4.       I was hired to conduct covid-19 testing at various locations in south florida, including the

                     Fort Lauderdale Airpo1t, at a rate of thirty-five dollars ($35.00) an hour.

            5.       I routinely worked more than forty (40) hours a week, but was not paid overtime.
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